                APPENDIX A
LISA COOPER DECLARATION




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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                              CASE NUMBER: 7:13-cv-145-F


Lisa Cooper,                                  )
       Plaintiff,                             )
                                              )
        vs.                                   )       Declaration of Lisa Cooper
                                              )
                                              )
The Smithfield Packing Company, Inc.,         )
      Defendant.                              )


I, Lisa Cooper, declare under penalty of perjury pursuant to 28 USC §1746 as follows:

1.      My name is Lisa Cooper, and I am over the age of eighteen (18) years.

2.      I give this declaration freely and voluntarily, and I am mentally competent to attest to the

facts stated herein.

3.      The statements herein are based on my personal knowledge, and are true to the best of

my knowledge.

4.      I began employment with the Defendant in December, 1995. Immediately prior to my

separation from employment, I held the position of Supervisor. Throughout my employment with

the Defendant, I performed my job satisfactorily and was not in jeopardy of being terminated due

to any fault of my own or due to poor job performance.

5.      Beginning in January 2007 and extending through December 31, 2007, I was subjected to

sexual harassment on more than twenty (20) occasions by Superintendent Tommy Lowery which

mostly consisted of sexually explicit comments. I made an effort to ignore his comments and

continued to do my job. There were many times when Lowery would make these comments to




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me and no one else would be present. I simply would tell him to stop and then I would try to just

stay out of his line of fire and continue to work.

6.     The sexually explicit comments mostly included statements about how sexy I looked or

how big my breasts and rear were, and how much Lowery wanted “to be with me”.

7.     Over the years 2008, 2009 and 2010, the harassment continued on at least a monthly

basis, and again I would try to ignore him.

8.     Beginning in January, 2011 the harassment worsened and started to include sexually

explicit statements made to me, sexual advances made toward me, inappropriate sexual contact

and making continuous physical and emotional threats to me. For example, Mr. Lowery asked

me on a regular basis, at least once per week, to have sexual intercourse with him. He told me

on a regular, almost daily basis that he would like to get me on my “fucking” back, in a sexual

position. He told me he was having sexual fantasies about engaging in sexual intercourse with

me, and asked her if he could come to my house for the purpose of having sexual intercourse on

a regular, almost daily basis.

9.     Mr. Lowery asked Brandon Moore, one of my male co-workers, if he had engaged in

sexual intercourse with me, and he also asked whether Mr. Moore knew if I had sexual

intercourse with any men other than her husband.

10.    In January 2011, Mr. Lowery forced me to spend time working physically closely with

him in the office and physically harassing me as I would enter and/or exit the office, making

significant, inappropriate inquiries regarding my personal life and inappropriately disclosing

matters about his personal life to me.

11.    In 2011, Mr. Lowery would ask me to describe to him the manner in which I engaged in

sexual intercourse with my husband. He would then describe to me the manner in which he




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engaged in sexual intercourse with other women, and the way he would like to engage in sexual

intercourse with me.

12.     Mr. Lowery also referred to me as a bitch, whore and slut while at work during the years

2010 through 2011. He would often refer to me as a “bitch” when I rejected his sexual advances.

He spoke to me using a belittling tone of voice and disrespected me in the presence of co-

workers by saying that I was stupid or was a stupid bitch.

13.     In 2011 on almost a weekly basis, Mr. Lowery would get close enough to me that parts of

his body would brush against me buttocks, breasts, arms and legs. He has used his hands, arms,

legs and genitalia area to brush against my body for his sexual gratification.

14.     In 2011, Lowery told me while I was at work that he loved me and wanted to be with me

in a sexual way.

15.     Overtime, as I rejected him more and more, I became afraid of Mr. Lowery. He told me

that he would kill me for complaining about him. I knew he had a criminal record and reputation

for being a drug dealer with connections to frightening people. I also knew he had a history of

violence.

16.     Mr. Lowery, along with other co-workers, was aware of the previous sexual harassment

allegations I had made against Mr. Perdue. They were aware that Mr. Perdue had been

terminated because of my complaints. That is why I believe Mr. Lowery made that statement

about killing me if he got fired after he heard I complained about him to Human Resources.

17.     In approximately March 2011, I requested a transfer from Jamie Pope to another

department or another city to get away from Mr. Lowery. However, I was told that there were

no vacancies to facilitate the transfer.




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18.    In approximately April 2011, I complained to Lynn Dove, who was the Human

Resources Manager, about Mr. Lowery’s conduct. I verbally provided her with details of the

sexual harassment by Mr. Lowery against me so that Human Resources could conduct an

investigation. I provided Human Resources with names of witnesses who could support my

claim of sexual harassment.

19.     Nothing was done after I complained to Dove.

20.    After I complained to human resources in approximately April, 2011, the harassment by

Mr. Lowery increased. I believe Mr. Lowery was aware that I had complained to Human

Resources because he referenced my internal complaints when he threatened to kill me if I

caused him to lose his job.

21.    I tried to ignore Mr. Lowery’s comments as much as I could, but he persisted and made it

difficult. I complained directly to Mr. Lowery about his sexually harassing behavior and told him

to stop treating me that way each time throughout the years. I also verbally complained to other

co-workers and Mr. Lowery’s supervisors, Ray Krause and Donovan Owens, about his sexual

harassment on more than one occasion.

22.    I also provided Human Resources with a written complaint on July 18, 2011, but Human

Resources failed to conduct an investigation and failed to contact the witnesses I provided. I do

not believe my complaints were taken seriously by Smithfield.

23.    Jamie Pope essentially told me the day after I complained about Lowery that he really

could not do anything about it. He further stated that he was ending his investigation even though

he had not bothered to call all of my witnesses.




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24.    In July, 2011, I called the Employee Assistance Program (EAP) offered through

Smithfield in an effort to seek emotional support and treatment for the distress I was suffering as

a result of Mr. Lowery’s conduct.

25.     After I talked to Jamie Pope, I knew that nothing was going to be done to Tommy

Lowery. He had been sleeping with numerous women on the job for years and everyone knew it,

but he was allowed to get away with it.

26.    I was afraid to really complain about Lowery because he had stated that he could get

away with anything he wanted to on the job. So when I finally couldn’t take his harassment any

longer, I went up the chain of command and complained to several company officials. When I

realized they really weren’t going to do anything to Lowery, I felt forced to resign. Not only

because I was afraid of him physically causing me harm, but also because I knew he would just

continue to harass me.

27.    Because of the sexual harassment I was subjected to by Mr. Lowery, my working

conditions became so intolerable that on July 19, 2011, I was forced to resign to escape the

harassment, as well as for my own safety.

28.    I never had, nor wanted to have, a consensual romantic relationship with Tommy

Lowery.

29.    Lowery was involved in sexual relationships with several of the women he supervised,

including Leslie Wade and Amanda Smith (now Amanda Lowery). I am also aware that Lowery

was involved in a relationship with Lemon Esther and Lisa Norris. At the time of these

relationships, Lowery supervised these women.

30.    At the time Lowery supervised Wade, he was having sex with her and was also living

with, and having sex with Amanda Smith.




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31.     Because of Lowery’s sexual relationships with these women, there was a lot of tension in

the department and rumors about his ability to terminate women who refused to have sex with

him.

32.     I am aware, because of my involvement as a supervisor, that Wade was involved in a

fight with another co-worker, Lemon Esther, over issues related to Lowery having sex with both

women.

33.     It was not unusual for supervisors to have relationships with people they supervised.

Management was aware that this type of behavior occurred in the workplace, but did nothing

about it.

34.     I have read Monica Williams’ affidavit in this case and I vehemently deny that I have

ever promised her anything in exchange for the written statement she provided to Smithfield’s

personnel office in July, 2011. The statement she wrote in July 2011 was based on her

observations and knowledge at that time. I did not tell her what to write in July 2011. I simply

provided her name as a witness to the issues involving me and Tommy Lowery.

35.     I believe that other witnesses who had information about Lowery that supported my

claims did not come forward because they were fearful of losing their jobs or having to work in a

hostile work environment under Lowery’s supervision.

36.     Lowery was a very intimidating person and I believe that other female employees were

afraid of what he would do to them, or have done to them, if they supported me.

37.     Because of Lowery’s prison record and history of criminal involvement, it was believed

that he had the resources to hurt or cause problems on the job for people. Lowery knew that was

his reputation and he enjoyed having people think these things about him.




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                                  is true and correct.




Lisa @oper




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